Case 6:09-cv-01300-GAP-KRS Document 42 Filed 10/28/10 Page 1 of 2 Page|D 407

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IN TI-IE UN`ITED STATES COURT OF A.PPEALS

 

 

 

 

 

 

 

 

 

       

FOR TI-IE ELEVENTH C[RCUIT f"P.
U.S. COURTOFAPFEA
ELEVENTH CIRCU|T
No. 10-13549-JJ
OCT" 2 8 2019
JOHN LEY
NELLIE DARLENE ARRINGTON, CLERK
as Personal Representative for the Estate of - v ` l
Ella Suvilla Church, Deceased, ' g
Plaintiff - Appellant, 6 f Oq O{ (3 00 b 151 27 w:
. y 1 ‘ '§
versus ' ':‘.> jr
ole l`..'Oé¥)|’f gm in
WALGREEN CO.,
an Illinois corporation, f
i : ¢ a _ .
Defendant - Appellee. Af|anfa. Georg¢a

 

Appeal from the United States District Court
for the Middle District of Florida

 

Before: EDMONDSON and PRYOR , Circuit Judges.

BY TI'IE COURT:

Appellant‘s motion to reinstate appeal is W '

Case 6:09-cv-01300-GAP-KRS Document 42 Filed 10/28/10 Page 2 of 2 Page|D 408

   

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UNITED STATES COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT
ELBERT |’ARR TU'ITLE COURT OF APPEALS BU|LDING
56 Forsyth Strcel, N.W.
Allantn, Georgia 30303
John Lzy For rules and forms visit
Clerk ofCour\ \\'w\v.cal |.uscouns. ov
october 26, 2010
Sheryl L. Loesch -j~`,

United States District Court
401 W CENTR.AL BLVD », :
ORLANDO, FL 32801 l ' <~;~?
Appeal Number: 10-13549-JJ

Case Style: Nellie Arrington v. Walgreen Co.
District Court Docl<et No: 6:09-cv-01300-GAP-KRS

The referenced appeal was dismissed on 09/22/2010.
Enclosed herewith is a certified copy of this court's order reinstating this appeal.
Appellee's brief is due 30 days from the date of this letter.

The clerk of the court or agency shown above is requested to acknowledge receipt on the copy
of this letter enclosed to the clerk.

Sincerely,
JOHN LEY, Clerk of Court

Reply to: Carol R. Lewis, JJ
Phone #: (404) 335-6179

REINST-l Appeal Reinstated

